Case 22-31641-mvl7                      Doc 399-65 Filed 10/06/23 Entered 10/06/23 14:40:23     Desc
                                               Exhibit 140 Page 1 of 2



 From:                          Eric Schaffer
 Sent:                          Tuesday, May 16, 2023 5:51 PM CDT
 To:                            Rukavina, Davor
 Subject:                       RE: [EXT] Amended Docs


 Are you agreed on removing “close call”? Thanks.

 From: Eric Schaffer
 Sent: Tuesday, May 16, 2023 12:45 PM
 To: Rukavina, Davor <drukavina@munsch.com>
 Cc: Funk, Brenda <bfunk@munsch.com>; 'Berghman, Thomas' <tberghman@munsch.com>; Silverstein,
 Paul <PaulSilverstein@andrewskurth.com>; Clarke, Brian <BrianClarke@andrewskurth.com>; Guffy,
 Philip <PGuffy@hunton.com>
 Subject: RE: [EXT] Amended Docs

 Just one comment, Davor. The proposed change to paragraph 16, quoted below, invites a
 deposition of the Trustee. The Judge may permit discovery, but the Trustee should not be
 making a statement that opens the door. I appreciate that you and your client may view
 this as a “close call” and therefore something to be settled, but there is no need to say that
 in the pleadings and it could slow a process that we agree should be moving
 expeditiously.

 the automaticstay.The Trusteehas reviewedthe loan and security    regarding
                                                           documents    the

 interestsof theIndentureTrusteeandtheCollateralAgent
                                                   with respect
                                                            to the Subject
                                                                        Funds,and

                                                 of the Estate,the CollateralAgent
                                   Fundsare property
 has concludedthat, while the Subject

 holdsvalid, perfected,      firstpriority
                   unavoidable         security                 Funds,although
                                           interestsin the Subject

                               of the reason for the Proposed
 it is a closecall (andhencepart                          Settlement),
                                                                  andthattheclaimsof

 theholdersof theNotessecuredbythe Subject
                                        Fundsexceedthe amount of the Subject
                                                                          Funds.




 Thanks,
 Eric


 From: Rukavina, Davor <drukavina@munsch.com>
 Sent: Tuesday, May 16, 2023 12:17 PM
 To: Argeroplos, Victoria <vargeroplos@jw.com>; Eric Schaffer <eschaffer@stonecipherlaw.com>; Guffy,
 Philip <PGuffy@hunton.com>; Silverstein, Paul <PaulSilverstein@andrewskurth.com>
 Cc: Berghman, Thomas <tberghman@munsch.com>; Funk, Brenda <bfunk@munsch.com>
 Subject: [EXT] Amended Docs

 Counsel, please see attached and advise. I would like to get filed today.

 Thank you




                                                                                       Trustee_Prosperity_001299
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                                          Exhibit 140 Page 2 of 2


 Davor Rukavina, Esq.

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                                                                                                                Trustee_Prosperity_001300
